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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

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UNITED STATES OF AMERICA,
APPLICATION AND ORDER
-against- OF EXCLUDABLE DELAY
LU JIANWANG 23-MJ-265
Defendant.
oo LL Le X

The United States of America and the defendant LU JIANWANG
hereby jointly request that the time period from 6/17/2023 to 8/4/2023
be excluded in computing the time within which an information or indictment must be filed.
The parties seek the foregoing exclusion of time in order because

XS they are engaged in plea negotiations, which they believe are likely to result in
a disposition of this case without trial, and they require an exclusion of time in order to focus
efforts on plea negotiations without the risk that they would not, despite their diligence, have
reasonable time for effective preparation for trial,

0 they need additional time to investigate and prepare for trial due to the
complexity of the case,

O other:
This is the second _application for entry of an order of excludable delay. The
defendant was arrested on _ 4/17/2023 and rgleased on 4/17/2023 :

   

Antoinette N. Rangel
Assistant U.S. Attorney Coupsel for Defendant

For defendant to read, review with counsel, and acknowledge:

I understand that federal law generally provides that I have a right to have formal
charges lodged against me within thirty days of my arrest and a right to a trial on those
charges within seventy days after formal charges have been lodged. I further understand that
I do not have to consent to the exclusion of time sought in this application and that, by
consenting to entry of this order, the date on which formal charges must be lodged will be
delayed and the date for the commencement of any trial on those charges will likely be
delayed as well. I also understand that if formal charges are not brought against me within
the time required by law, I may seek relief from the court, and that this relief might include
dismissal of the complaint now pending against me.
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I have reviewed this application, as well as the order annexed below, and have
discussed the question of whether I should consent to entry of an order of excludable delay
carefully with my attorney. I consent to the entry of the order voluntarily and of my own
free will. I have not been threatened or coerced for my consent.

b [14/2 O23
Date

For Defendant's Counsel to read and acknowledge:

   

LU JIANWANG
Defendant

I certify that I have reviewed this application and the attached order carefully with my
client. I further certify that I have discussed with my client a defendant’s right to speedy
indictment and the question of whether to consent to entry of an order of excludable delay. I
am satisfied that my client understands the contents of this application and the attached
order, that my client consents to the entry of the order ee and of his or her own free

will, and that my client has not been threatened sete OK

insel for Defendant

    
 

ORDER OF EXCLUDABLE DELAY

Upon the joint application of the United States of America and defendant,
LU JIANWANG , and with the express written consent of the defendant, the time
period 6/17/2023 to 8/4/2023 is hereby excluded in computing the time
within which an information or indictment must be filed, as the Court finds that this
exclusion of time serves the ends of justice and outweighs the best interests of the public and
the defendant in a speedy trial because

x) given the reasonable likelihood that ongoing plea negotiations will result in a
disposition of this case without trial, the exclusion of time will allow all counsel to focus
their efforts on plea negotiations without the risk that they would be denied the reasonable
time necessary for effective preparation for trial, taking into account the exercise of due
diligence.

O additional time is needed to prepare for trial due to the complexity of case.

oO other:

 

SO ORDERED.

Dated: Brooklyn, New York s/ James R. Cho

June 14 , 20 23 Hon. James R. Cho
United States Magistrate Judge

 
